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   UNITED STATES DISTRICT COURT FOR THE W ESTERN DISTRICT OF VIRGING
                       CHARLOTTESVILLE DIW SION


   ELIZA BETH SIN ES,ET A L.,                                  caseNo.3:17-cv-00072-NKM I
   Plaintiffs,                                                 IHon.Norma
                                                                       CLEnR/
                                                                            KjMo
                                                                              oFncE
                                                                                 onu s nlsv
                                                                               A'
                                                                                rc- oe âyjus, vclouv
                                                                                                  .


   Iv.I                                                                                FICED
   JASON KESSLER, ET AL .,                                                          Mà2 25 2212
                                                                               JU    c.   L     LERK
   Defendants.'l                                                              BY' D       cE
                              DEFENDANT RICHARD SPENCER 'S REPL
                      M EM O M N DU M IN FUR TH ER SUPPO R T O F H IS M O TIO N TO
                         DISY SS PLM N TIFFS'A M EN DED C O M PLA INT

          DefendantRichard Spencer,Pro Se,submitstllisreply m emorandllm in furthersupportof

   hismotiontodismissPlaintiffsamendedcomplaintptlrsuanttoFed.R.Civ.P.12(b)(6).
                                             IN TR O D U CTIO N

          Plaintiffs'amended complaintreliesupon along seriesofrepetitive,unsupported,

   conclusory statem entsaccom paniedby abroad dem and forreliefbased on an assertedly

   irrebuttableporeayalofdefendantsasviolentterroristsofthemostdangerousorder.In their

   m otionsto dism iss defendantsobserve plaintiffs'pattem istic assertions forwhatthey are:m ere

   labelsand groundlesslegalconclusionsthatfaileven rem otely to satisfy thewell-codified

   pleading standardssetforth by theUnited StatesSuprem eCourtin BellAtlantic v.Twombly,550

   (1S.544(2007)andAshcrojtv.Iqbal,556U.S.662(2009).Plaintiffs'genericresponseisa
   non sequitur in relation to defendants'm otionsto dism iss,and restatesplaintiffs'original

   tm supported claim swhilesuggesting thatdefendantsmustsomehow vaporizeplaintiffs'

   conclusory languageitselfto validatetheirmotions.Plaintiffsa11butexplicitly statethatthe




                                                   1
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   Iqbal/Twombly standard worksin reverse,obliging defendantsto show aboveathreshold of

   plausibili'
             ty thatthey arenotwhitesuprem acistterrorists.

          Thatplaintiffsfeelunburdened by theneed to satisfy establishedpleading standardsin

   even themostm inimalsenserevealstheirsuitasabad-faith strategicploy to impedefreespeech,

   intimidateperceivedpoliticalopponents,and silence defendantsby forcingthem to mounta

   costly and debilitating legaldefense. In otherwords,plaintiffsdeclinetopresentmeritorious

   argum entssupported by factbecausethey aretmconcerned with ultimately prevailing in their

   claim . Theirstrategiclawsuitagainstpublicparticipation willhave succeeded completely ifit

   survivesthem otionstodism issand proceedsto theexpensive and time-consllming discovery

   phase.Theonly effectivedeterrenttoplaintiffs'bad-faith lawfaretadic isto dismisstheir

   complaintoutdght.

          Perm ittingplaintiffsto proceed onthebasisoftheirarbitrary charactedzationsand

   tmsubstiantiated paradeofawfulswould destroy defendants'ability to engagein a widescope

   constitutionally-protected speech and activity. Entertaining plaintiffs'claim would also

   seriously tmderminetheoperation ofseveralfundnm entallegalprinciplesthatprotectall

   Am ericans.Itwould givezisetothepresumption thatcourtsm ay becynically exploited by the

   wealthy andpowerfulto suppresscivicexpression and participation by lessprivileged citizens

   whoaretmableto financetheirlegaldefenses.ltwould encotlragethenotion thatplaintiffsmay

   bypassthepleading standardsby employing vague,tmgrotmded allegationsofconspiracy and

   teaorism .Itwould erodetheFirstAm endmentrightofAmericansto freely assem bleand air

   theirgrievances,subjecttoreasonablelimitationsrelatingtothetimeandplaceoftheiractivity.
   Itw ould corrupt,perhaps irrevocably,the vitaland w ell-established constitutionalprinciple that

   theFirstAm endm entextendsequally and especially to speech thatm any find tmpleasant,



                                                   2
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   offensive,and outrageous.Finally,itwould confuseand subverttheauthority ofthiscourt,since

   theorganizeroftheeventinquestion soughtandobtainedaninjunctionfrom theUnitedSttes
   DistrictCourtfortheW estem DistrictofVirginia vindicatinghisrightto holdthevery

   dem onstration plaintiffsnow mischaracterizeasseditiousandriotous.

          Plaintiffsseekto distractf'
                                    rom thedangerouseffectsand consequencesoftheirsuitby

   relentlessly repeating theirempty labelsand legalconclusionsin an obfuscatingm atter-of-fact

   languageand tonedesigned tom islead. Centralto thisobfuscation isan tmcleverelision in

   which,on theonehand,plaintiffspretend notto beattacking defendants'exerciseoftheir

   constitm ionalrightswhile,on the other,they seek to m esm erizethe courtwith assertionsthat

   defendants'exerciseoftheirconstitutionalrightsitselfnmountsto violenceandterrorism Jc

   facto.Further,plaintiffsneverpresentalegalargumentorsetoffactsto supporttheirgrouping
   togetherofthedefendants,such thatthey are allobliged to answ erforany alleged actby any one

   ofthem .

          Absentf'
                 rom plaintiffs'm emorandllm are citationsto even a singlecasesupportingtheir

   arplm entin itsreasoning orresemblingtheircomplaintin itsfacts.Thesimplereason forthisis

   thatno courthaseverjandionedthewholesaledisregard ofminimum pleading standardsand of

   theFirstAm endmentthatplaintiffs'complaintdem ands.

                                                     1.

                     PLAINTIFFS'AM ENDED COM PLAINT FM LSTO M EET IQBAL/
                  T/FOA AZ F PLAU SIBILITY PLEA D ING STAN D A RD S A S TO SPEN CER

          Spencerisnam ed asadefendantin fouroftheseven claimsalleged in theamended

   complaint,nnmely,Count1(42U.S.C.j198543)Conspiracy),Cotmt11(42U.S.C.j1986),
   CotmtI1I(CivilConspiracy)andCotmtV (ViolationofVirgirliaCodej8.01-42.1CivilAction
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           forRacial,Religious,orEthnicHarassment).Noneofplaintiffs'allegationsagainstSpencer
           rem otely satisfy theplausibility standard ofIqbaland Twombly.

                  Spencerismentionedin32ofthe335paragraphsintheamendedcomplaint(priortothe
           causesofaction),namelyparagraphs21,28,40,42,49,50,53,63,70,78,85,87,92,108,120,
           141,143,153,164,166,175,184,187,229,260,273,297,305,311,315,327,and 328. Several

           oftheseallege actionsby Spencerthata<eentkely legaland wholly proteded bytheFirst

           Amendment.Theseincludeparagraphs40(draftinjofastatement),85(referringtothesnme
           statement),87(maintairlingawebsiteonwhich anotherm iterissuedanindefmitestatement
           aboutdominatingEttheskeets'),92 (maintainingawebsiteonwhich anotherwriterindicatedthat
           eventattendancenmongsympatheticgroupswouldbehigh),120(issuingapublicrequestfor
           legalassistance- thedateofthisrequestisnotspecified),141(tweeting apicttlreofa
           restaurant),143(participatinginatorchlitprocessionthroughthecnmpusoftheUniversityof
           Virginia),153(textingareporter,tEl'dbenearcnmpustonight,if1wereyou.After9:00p.m.,
           Nnmelessfield.''),184(retweetingatweetbytheeventorganizer),260(sendingatweettlrging
'
           demonstratorstoleaveCharlottesvilleafteradeclarationofastateofemergency),273
           (commentingtotheNew YorkTimesthattheeventrepresentedamoralvictory),297(sendinga
           A eetindicatingthatheandhissupporterswerenotdiscotlragedandwouldnotbeintimidated

           intorefrainingfrom visitingCharlottesville),305(maintainingawebsiteonwhichanotherwriter
           published,aftertheUnitetheRightevent,astatementexpressing anon-specificreadinessto

           ûttsght''foracause),311(solicitingfnancialcontributionsonlinetoassistindefendingagainst
           legalaction),and327(beingfeaturedon aposterpromotingtheevent).M anyoftheremaining
    '      paragraphsare so conclusory innatttrethatthey failto satisfytherequirem entsofTwombly and

           Iqbaland are thus entitled to no presllm ption oftruth.



                                                           4
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          Otherparagraphsmeritspecialdiscussion.lnparagraph 70plaintiffsattributea quotation

   toSpencer.Cr amigoandhisgroup(IdentityEvropaqtooktheleadtoorganizewhite
   supremacistparticipationamongpeoplefrom outsideCharlottesville.'') Thearticleinwhichthis
   sxentence appearscan beviewed athlps:
                                       //w     z.kqed.org/news/zol7/o8/l4/califoY an-who-

   helped-orgr ize-charloûesville-protests-used-berkeley-as-a-test-O i .Plaintiffsac ibutethe

   quotation to Spencerto highlighthisapparentendorsem entofthedesignation çûwllite

   supremacist.''However,the attributed sentence doesnotappearinthearticleasaquotation at

   all,butratherasacharacterization by the authorofthearticle. Plaintiffsm isleadby attributing

   the sttem entto Spencerand placing itinside quotationm arks,giving theimpression thathe

   spokethewordstherein asthey wereprinted,thusconcuning in plaintiffs'useofthephrase

   çtwllitesupremacist''and by extension theterroristic and violentaim splaintiffsassign to any

   activity conducted tmderthatlabel.Thisim pression isfalse.

          In paragraph 229plaintiffsindicatethat,aftertheU nitetheRighteventwasshutdownby

   theauthorities,Spencerandothers.
                                  reassembledM clntirePark,where,they say,ççlvqiolence
   brokeout.'' Hereplaintiffsdo noteven botherwith the form ality ofexplaining whatSpenceror

   otherdefendantsdidto giveriseto thisalleged violence,orhow itwasconnected to defendants'

   allegedly conspiratorial,terroristicaims. Sinceplaintiffs'complaintrelieson thebad-faith

   assumption thatdefendantscaused and indeed intendedal1oftheviolencethattook placethat

   day and actually designed and coordinated itsoccurrence,such explanationsare in theirm ind

   proformaexercisestheyentertainasafterthoughtsandfrequentlyfailtoemployatall.
          In paragraphs 143through 186 plaintiffspresenttheirloaded version ofaparticularphase

   ofthetorchlitprocession thatoccurred on thecnmpusoftheUniversity ofVirginiaon the

   evening ofAugust11th,inwhich Spencerparticipated.They describeparticipantsreaching the



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   statueofThom asJefferson and çtcharging''andsurrounding therelatively few counter-

   participantswhohad assem bledaround it.Plaintiffsemphasizethatthiswasaplnnned,pre-

   coordinatedm aneuverby thedefendants.Thiscontention isnonsensicalon itsface.Thetorchlit

   processionwasnotgenerally publicized,advertised orprom oted,andwasinstéad orgnnized

   throughword-of-m outh chainsofcom munication,afactthatplaintiffsreadily acknowledgein

   paragraphs144 and 145 anddo notcontradictelsewhere.Plaintiffsfailto explain how

   participantscouldhaveplnnned to charge,s= ound,and intimidate agropp ofcounter-

   participantswhom they could nothaveanticipated would be present,sinçetheprocession was

   organized secretly and notdisclosed to thepublic,apartf'
                                                          rom isolated,last-m inutetipsto

   reporters.Instead ofan intentionally-organized and strategized operation ofintim idation and

   violence,thefactspresented by theplaintiffsthem selvesrevealatmostan episodeofpushing,

   shoving,and overalltension incidentto otherwisepeacefulactivity.

          Tilisbreathlessaccotmtofhow they allegedly becam ethetargetofdefendants'secret

   nighttimeprocession ihroughthecnmpusoftheUniversity ofVirginia isperhapsthem ost
   revealingaspectofplaintiffs'story. How didthiscometo pass? Plaintiffsdepictan Gûattack''at

   the campusrotunda,butdonotexplain why therottmdarequired defenseorwhy defendants

   expectedto find plaintiffstherein significantnumbersbetween nineandten o'clock in the

   evening. Plaintiffsthem selvesheavily emphasizethefactthattherlighttimeprocession was

   organized secretly andwasneitherdisclosed in defendantJason Kessler'seventperm it

   application norrevealedpublicly.Absent9om plaintiffs'presentation,then,isan explanation

   fortheirorganized presenceattherotunda latein theevening on August11th.

          Plaintiffs neglectthis gap in theirlogicalchain forgood reason:itexposesthe

   misrepresentation animating theirentireclaim . Plaintiffswereneithervictim sofan invidious



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   conspiracy nortargetsofdefendants'activity atall- in factthereverseisnearertothetruth.

   Defendantspm icipated in adem onstration intended asapublic assem bly fortheexpression of

   opinion andtheailing ofpoliticaland culturalgrievances. Defendantswould haveproceeded

   with theiractivity even ifnoneoftheplaintiffsnorany counter-demonstratorwerepresent,and

   mostlikely wouldhavepreferredthisto bethecase. Thereality isthattheplaintiffswere

   counter-protestorswhonotonly camevoltmtarily to the demonstration to expresstheir

   opposition,butwho soughtenergeticallyto placethem selvesatthecenterofit,even totheextent

   ofreacting instnntaneously to last-minutereportsthatdefendantswerepresenton theUniversity

   ofVirginiacampuslate Friday night.

          Plaintiffshad therightto bepresenton theUniversity cmnpusand attherotundaequally

   asmuch asdid thedefendants.They lacktherightorlegalstanding,however,to intentionally

   seek outthedefendantswhereverthey happen to gather,conductaloud andphysicalcotmter-

   dem onstration againstthem ,andthen laterraiseclaim sofconspiracy and racialharrassm ent

   prem ised on the falseconceitthatthey werethesingularfocusofdefendants'activity.

   Perm itting plaintiffs'suittoproceed would notonly obligethesquarepeg ofthefactsto fitinto

   therotmd hole ofaconspiracy claim 'selements,butwould also embroilfederalcourtsin a futile

   efforttoresolveevery highly contentiouspoliticaland cultlzraldisagreementassuch aclaim .

          Plaintiffs'presentation consistsentirely ofconclusory statements,descriptionsof

   defendants'lawfulcondud,suggestionsthatdonotsurviveapplication oftherule of

   completeness,and com binationsthereof.TheircomplaintdoesnotsatisfyIqbal/Twombly

   plausibility standardsforpleading an actionableconspiracy,a conclusion supported by this

   circuit'sw ell-developed case law . In .4 Society W ithouta Nam e v. Virginia,655 F.3d 342,347

   (4thcir.2011),theFourthCircuitaffirmedadismissalofj1985(3)conspiracyclaims,noting



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   that,underIqbaland Twombly,ûGm actspledthataretmerely consistentwith'liabilityarenot
   suffcient.... In addition,where aconspiracy isalleged,theplaintiffm ustplead facts

   nmotmtingto morethan tparallelconductand abare assertion ofconspiracy .... W ithoutmore,

   parallelconductdoesnotsuggestconspiracy,and a conclusory allegation ofagreementatsome

   unidentifiedpointdoesnotsupply factsadequateto show illegality'....Thefactualallegations

   mustplausibly suggestagreement,ratherthanbeingmerelyconsistentwithagreement.''(quoting
   Twombly).TheFourthCircuitagainaffirmeddismissalofaj1985(3)conspiracy claim in
   lhomasv.F/leSalvationArmySouthernTerritory,841F.3d632(4tbCir.2016),reiteratingthat
   allegationsofparallelconductanda bareassertion ofconspiracy areinsufficientbasisfora

   claim tmderTwombly.1d.at637. SeealsoPolidiv.Bannon,226F.supp.3d615,623(E.D.Va.
   2016)(dismissingaj198543)claim onTwomblypleadinggrounds);M elvinv.SocialSecurit
                                                                                 y
   Administration,126F.supp.3d584,609-10(E.D.N.C.2015)(dismissingaj198543)conspiracy
   claim and emphasizing thatpiaintiffmustplausibly pleadçGthattherewasa singleplan,the

   essentialnatureand generalscopeofwllich wasknownto each person whoisto beheld

   responsibleforitsconsequences'');c/ Simmonsv.Poe,47F.3d 1370,1377(4thCir.1995)
   (grantingsummaryjudgmentagainstj1985(3)conspiracyclaim andnotingtheGtrelatively
   heightened''pleadingstandardforsuch claims);Scottv.GreenvilleCoz/n/y,716F.2d 1409,1424
   (4tbCir.1983)(rejectingallegationsthatprivatecitizenswereliableforj 198543)conspiracy
   simplybecausetheym '
                      otelettersandspokeatpublicmeetings).
          Cenkalto theIqbal/Twombly pleading standardistheprinciplethatwhereacourt,

   takingduenoteofcontext,observesan ûtobviousalternativeexplanation''forthedefendant's

   alleged conductthatdoesnotentailliability underplaintiffsconspiracy theory,theplaintiffhas

   failed to elevatellisclaim 9om merely conceivableto actually plausible.SeeM ccleary-Evansv.



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   MarylandDepartmentofTransportation,780F.3d582,587-88(4thcir.2015).Here,the
   alternativeexplanation forSpencer'salleged conductisobvious:Spencerexercised llisFirst

   Am endmentrightsby recordingpodcasts,speaking on publicissues,expressing controversial

   viewpoints,andpM icipating in a demonstration. Ifonelookspastthelayerofconclusory

   com mentaryplaintiffsapply throughouttheircomplaint,thefactsthey presentmakeitdifficultto

   believe theirliabilitytheory overthebenign alternative.Plaintiffshavenotm etthepleading

   requirementsofIqbaland Twombly and theircomplaintshouldnotbeallowedto proceed.

                                                    II.

                    PLA IN TIFFS H A VE N O T PLEAD ED A N D CAN N O T PLEA D
                  THE NECESSARY ELEM ENTS OF A 42U.S.C.j198543)CLAIM

          Thescopeofj1985(3)conspiracy claimshasbeen specitkally delineatedandnarrowly
   circllm scribed by both the Fouth Circuitand theSupreme Court. Tllisisnotatallapparentf'
                                                                                          rom

   plaintiffs'com plaint,however,which seem spremisedon adifferent1aw oftheplaintiffs'own

   imagining forwhich unambiguouscaseprecedentdoesnotexist.Accepting plaintiffs'm istnken,

   impressionisticintepretationofthe1aw wouldleadtoabroadandnovelexpansionofj198543)
   thatwasnotintendedby itsdraftersand hasneverbeen endorsed by thisorany sistercourt.

          Theelementsofaj1985(3)claim are:(1)aconspiracybytwoormorepersons;(2)
   motivatedby aspecific,class-based,invidiouslydiscriminatorypurpose;(3)todeprivethe
   plaintiffofequalenjoymentofrightssecmedby1aw toall;(4)resultingininjurytotheplaintiff;
   (5)asaconsequenceofanovertactcommittedbydefendantsinconnectionwiththeconspiracy.
   Thomasv.SalvationArmy,841F.3d632at637(4thcir.2016).Plaintiffs'allegationsontheir
   facedo notm eettheseelements,andtherelevantcaseprecedentstrongly supportsdefendants'

   motionstodismissbasedonFed.R.Civ.Pr.12(b)(6).



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          M odem case1aw relating to j 1985(3)descendsfrom the Supreme Court'sdecision in
   Gr@ n v.Breckenridge,403U.S.88,98-99 (1971). In Gr@ n,a group ofwhitesassaulted a
   group ofAfrican-Americanswho were traveling on an interstate highway in M ississippi. The

   African-Americans filed an action fordnmagesptlrsumltto j 1985(3). The issue before the
   SupremeCourtwaswhetherj 198543)reached individualsacting in aptlrely private capacity.
   TheCotu'tdeclinedto endorseabroadreading j 198543)thatwouldpennititsapplication to a11
   instrusions upon the rights of othersby private individuals. Although the Courtheld thatthe

   stattlte could apply to particular kinds of private action- specifically to interferençes w1111

   federally protected rights to laveland Tllirteenth Amendm ent rights- the Courtexpressed

   concernoverthebroadlanguageofj1985(3).TheCourtcautionedthatalthough j198543)was
   designed to reach som eprivate conspiracies,Congressdid notintend itto çtapply to alltortious,

   conspiratorialinterferenceswith therightsofothers.'' 403 U.S.at101.

          ln UnitedBrotherhoodofcarpentersv.Scott,463U.S.825(1983),theSupremeCourt
   consideredtheapplicationofj1985(3)toalaboruniondispute.A pro-lmion grouphadengaged
   in a conspiracy againstnon-tm ion em ployeesw orlcing fora particularnon-llnion contractor,
                     (

   culminating in aphysicalattack upon thenon-union workers.Thenon-tmion workersbroughtan

   action fordamagestmderj 1985(3).Thedistrictcourtfotmdthattheattackconstitutedan
   interferencewiththerightofassociation,inviolationofj 1985(3),becauseitnmotmtedtoa
    discrilninatory conspiracy againstnon-union w orkersasa class. AftertheFifth Circuitaffirm ed,

   theSupremeCourtreversed.TheCourtwastmpersuadedbythearglzmentthatj1985(3)applies
   toççeveryconcertedeffortbyonepoliticalgroup tonullifytheinfluenceordoinjurytoa
    competing group by use ofotherwiseunlawfulm eans.''1d.at836.The Courtexplained:

           To accedeto thatview would go fartowld making the federalcourts,by virtue of j
           1985(3),themonitorsofcnmpaigntacticsin bothstateandfederalelections,arolewhich

                                                 10
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          the courts should notbequick to assum e. lfrespondents'subm ission were accepted,the
          proscription of j 1985(3) would arguably reach the claim thata politicalparty has
          interfered w ith the freedom of speech of another political party by encom aging the
          heckling ofitsrival'sspeakersand the disruption oftherival'smeetings.

          1d.

          TheSupremeCourtalsodeclinedtoexpandthescopeof j198543)inBray v.Alexandria
    Women'sHealthClinic,506U.S.263(1993),inwhich aclaim wasbroughtagainstpersonswho
   orgnnized and coordinated demonstrationsagainstawomen'shealth clinicthatpedbrmed

   abortions.TheCourtexplainedtheimportanceofadheringtoacircumscribedapplicationofj
    1985(3):
          0. discussion in Carpentersmakes clearthatitdoes notsufsce forapplication of j
          1985(3)that a protected rightbe incidentally affected. A conspiracy isnotKforthe
          ptlrpose''of denying equalprotection simply because ithas an effectupon a protected
          right. Therightmustbe 'kaimedat,''463U.S.,at833(emphasisadded);itsimpairment
          mustbe aconsciousobjectiveoftheenterprise. JustastheEçinvidiously discriminatory
          nnimus''requirem ent,discussed above,requiresthatthe defendanthave taken hisaction
          EEat least in part çbecause of,' not m erely :11,
                                                          1 spite of,' its adverse effects upon an
          identifiable group,''Feeney,442 U .S.,at279,so also the lGintentto deprive ofa right''
          requirementdemandsthatthe defendantdo m ore than m erely be aware ofa deprivation
          ofrightthathecauses,and morethan merely acceptit;hemustactatleastin partforthe
          very purpose ofproducing it. Thatwasnotshown to be the case here,and ison itsface
          im plausible.

           506 U .S.at275-76

          ln H arrison v. KVAT Food Management,Inc.,766 F.
                                                         2d 155 (4thCir.1985),tjje yuurth
    Circuit,rejecting a contrary decision by the Second Circuit,held thatmembers ofa political
   party are notprotected asa classby j 1985(3),even ifitisalleged thatdefendants'conduct
    aim ed to discouragetheirparticipation in theaffairsoftheirparty.TheFourth Circuitstated:

           (Alnalyzing the Scottdecision,we find little supportforthe contention thatj 1985(3)
           includesin itsscopeofprotection the victimsofpurely politicalconspiracies. lndeed,the
           opinioninScottexhibitsanoticeablelackofenthusiasm forexpandingthecoverageofj
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          198543)toany classesotherthan thoseexpresslyprovided bytheCourt....(TlheCourt
          providedno authodtyon whichtobasetheextension ofj1985(3)protectiontlrgedupon
          ushere.... W e are concem ed here with a stattzte enacted to 1 1511a particularpurpose
          and designed to meet particular conditions.      In fact,the Courtin Scott expressed
          uncertainty overwhether even the use ofunlawfulcondud in the depdvation of rights
          necessarily callsforaremedy.TheCourtremarked:ûilm efind difficultthequestionof
          whetherj 198543)providedaremedyforeveryconcertedeffortby onepoliticalgroup to
          nullify the influence of or do otherinjury to a competing group by use ofotherwise
          unlawfulm eans.''Carpentersv.Scott,463 U.S.at836.

          Id at161-63.

          Viewed againstthebackdrop oftheFourth Circuitand Supreme Court'srepeatedly-

    expressedrelucunceto broadly extend such claim sto a1lmannerofprivate activity,the

   plaintiffs'theory ofliability becom eseven m oretmsupportable.ThefactthatSpencer'sactivity

    consisted simply ofexpression protected by the FirstAmendmententirely andfinally disposesof

   plaintiffs'm acabretheory ofviolent,invidiousconspiracy.Allowing plaintiffs'claim to proceed

   wouldrepresentadramaticdeparturef'
                                    rom caseprecedentandtowardstheapplicationofj
    198543)ûitoalltortious,conspiratorialinterferenceswiththerightsofothers,''an outcomethe
    SupremeCourtspecifkallydisavowedinGr@ n.
          Undertheplaintiffs'theory,anyonewhoparticipated in plnnning ororganizing the

    demonstration in any way isliablefora11alleged harm scaused by any oftheotherhtmdredsof

    demonskatorswho participated.Thisiswholly inconsistentwith thenazrow focuson specitk

    intentrequired bythe Suprem eCourtin Bray,and with therèluctanceofthe Fourth Circuitand

    theSupremeCourttoapplyj 1985(3)categoricallytoallclaimsofconspiracy ortortious
    conduct.InBray,theSupremeCourtpointedoutthatj1985(3)'stG'intenttodepriveofaright'
    requirementdemandsthatthe defendantdo morethan m erely be awareofadeprivation ofright

    thathe causes,and m ore than m erely acceptit;he m ustactatleastin partforthe very purpose of

    producing it''Plaintiffs'allegationsasto Spencerand the otherdefendantsactually illustratethe

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   opposite:thatplaintiffspurposely directed theiractivity towardsthedefendantsrathertha11the

   otherway arotmd.

          Plaintiffs'relianceon j1982asthebasisfortheirconjpiracyclaim isparticularly
   problematic.Plaintiffs'theory restslargely ontheirallegation inparagraph 202 thatasthe

   nighttim eprocession ofAugust11passeda synagogueto which one oftheplaintiffsbelongs,

   tllreedem onstratorswearinguniform sandholdingsem i-autom aticweaponsstood acrossfrom

   thetem ple,shouting offensiveand threatening sàtements.Althoughthisalleged conductis

    shockingandoffensive,itcnnnotprovidethebasisforaclaim underj1982,whichprovidesthat
    çW l1citizensoftheUnited Stàtesshallhavethesameright,in eyery State and Territory,asis

    enjoyedbywhitecitizensthereoftoinherit,purchase,lease,sell,hold,andconveyrealand
   personalproperty.'' Even ifplaintiffsofferedanonspeculativeallegation thatSpencerapproved

   thisconductorwaseven awareofit- they do notv there stillwould beno supportin Fourth

    Circuitprecedéntforsuchadaim adsingunderj1982.
                                                     IH .

                         PLAINTIFFS HAVE NOT PLEADED AND CAM OT
                         PLEAD A W ABLE CLAIM UNDER 42U.S.C.j1986

          Thebroadconstructionofj1986tmderlyingplaintiffs'claim hasno supportinanycase
    law.NocaseknowntoSpencerhaseveraffirmativelyupheldaj1986claim,includingthecase
    citedinthiscomwctionbyplaintiffs,Colemanv.Boeing Co.,2017W L 2992526(D.S.C.Jtme
    22,2017). TheColemancourt,infact,rejectedaj1986claim onthegrotmdthatitwas
    dependentonaviablej198543)claim,whichplaintiffshadnotpleaded.Dozensofothercases
    havefollowedthisrationale,c.g.,Trericev.Summons,755F.2d 1081,1085(4thcir.1985);

    Davisv.Hudgins,896F.Supp.zd561,571(E.D.Va.1995).Thesçprecedentssupportdismissal
    ofplaintiffs'j1986claim inthiscaseaswell.Plaintiffshavenotpleadedaviablej 1985(3)

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   claim againstSpenceroragainsta11defendantsgenerally,in lightoftheFirstAmendm ent

   contextand theamended complaint'spleadingdetk iencies.

           Evenassllming,contrarytofact,thatplaintiffshadstatedaviablej1985(3)claim against
   oneofthedefendants,j1986shouldnotbeaffordedthebroadinterpretationplaintiffsurge.
    Such an interpretation would imposevague and virtually unlimited obligationson private

    citizenstopreventallegedviolationsby othersofj 1985.Thisisinconsistentwithbasic
   principlesofstatutory constnzction.See,e.g.,Nat1LaborRelationsBoard v.Wheeling Elec.
    Co., 444F.2d783,787(4thCir.1971)(wherealiteralintem retation ofa statutewouldnotaccord
                                                                 '
                                                      .



   with theintended purposeoflegislation orproducean absurdresult,courtsmustlook beyond

   wordsofthestamte); Unitedstatesv.American TruckingAss'n,310U.S.534,543(1940)
    (çtFrequently,however,evenwhentheplainmeaningdidnotproduceabsurdresultsbutmerely
    an lm reasonable one Eplainly atvariancewith thepolicy ofthe legislation asawhole,'thisCourt

   hasfollowedkthepurposeoftheactlratherthantheliteralwords.'').M oreover,suchabroad
    interpretation wouldbeunconstim tionalunderthevoid-for-vaguenessandoverbreadth doctrines,

    fornoprivate citizen would havefairnotice ofthecriteriaby which he orshecould beheld

    liabletmderj1986fortheconductofothers,e.g.,inamassdemonstration.Underthevoidfor
    vaguenessdoctline,a1aw cnnnotbe enforced ifitisso vague orconfusingthattheaverage

    person couldnotfigtlreoutwhatisbeing prohibited orwhatthepenaltiesareforbreaking that

    law.See,e.g.,Gentilev.StateBarofNevada,501U.S.1030,1048-51(1991)(holdingthatan
    attorneydisciplinaryrulewmstmconstimtionallyvagueasapplied);Keyishianv.Boardof
    Regents,385U.S.589-603-04(holdingthatrestrictionson governmentemployeespeechwere
    unconstimtionallyvague).Undertheoverbreadth dockine,astatutethatproscribesnotmerely
    unprotectedspeechbuialsoprotectedspeechisunconstimtional.See,e.g.,R.A.M v.City ofst.



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    *
                                                                                                            .



           Paul,505U.S.377(1992)(strildngdownbias-motivatedcriminalordinancewhereitproscribed
            notonlyfightingwordsbutalsoprotected speech).Accordingly,totheextentthatj 1986must
.           beintep reted in thiscaseatall,thatinterpretation mustbe limited topersonswho had an

            independent,recognized duty to preventunlawfulconduct,such assheriffsandthepolice.

                                                               IV .

                                  PLM NTIFFS H AV E N O T PLEA DED A PLAU SIBLE
                                  C IW L CO NSPIM C Y CLA IM A G M N ST SPEN CER

                   Underthe comm on 1aw ofVirginia,aplaintiffmustprove fotlrelem entsto stateaprima

           faciecauseofactionforcommonlaw conspiracy:(1)acombination oftwoormorepersons;(2)
            accomplishing,by someconcertedaction;(3)acriminalorunlawfulpurpose,orsomelawful
            purposebyacriminalorllnlawfulmeans;(4)resultingindamagecausedbythedefendant'sacts
            comm itted in furtheranceoftheconspiracy.See CommercialBus.Sys.,Inc.v.Bellsouth Senw,

            Inc.,453S.E.2d261,267 (1995);Glassv.Glass,321S.E.2d69,74(1984).lnIqbalthe
            Suprem eCourtclarised thatthe heightened plausibility standard appliesto allcivilclaims.See

            Ashcroh v.Iqbal,556U.S.662,684(2009).Plaintiffs'claim ofcivilconspiracy fallsshortof
            thisstandardforthesamereasontheirj 1985(3)fails:itrestsentirelyuponconclusory
            syatements,descriptionsoflawfulconductby thedefendants,incompletestatementsoffact,and

            combinationsthereofthatultimately contradictthemselvesandtogetherfailto supporttheir

            intended claim .

    '              Severalofplaintiffs'theoriesaredisposed ofin othersectionsofthism em orandllm,e.g.,

            theirallegation thatdefendants conspired to com m itacts ofintim idation,harassm ent,and

            violencedirected atplaintiffson thebasisofracial,religious,orethnicanim osity,in violation of

            VirginiaCodej8.01-42.1.Othersfindsupportonlyinplaintiffs'recitationsofvarioussections
            oftheVirginiaCodefollowed by theirpredictable,conclusory say-sothatdefendantsdid


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   com mitttheunderlying act.Thusplaintiffspresentallegationsthatdefendantsconspkedto,for

   exnmple,causeorproduceadot,inviolationofVirginiaCodej18.2-408,anddirectothersto
   do so;assemble acollection ofpeopleforthepurpose offcommittingactsofassault,battery,and

   violence,inviolation ofVirginiaCodejj18.2-38,18.2-42,and 18.2-42.1;maliciouslycause
    anotherpersonbodily injurybyuseofanyexplosiveorfire,inviolationofVirgirliaCodej18.2-
    52,
      .bl'rnanobjectwiththeintentto intimidateinamannerhavingadirecttendencytoplace
    anotherpersoninreasonablefearofapprehensionofdeath orbodilyinjury,inviolation of
    VirginiaCodej18.2-423.01;possess,use,sell,give,distribute,ormanufacttzreaweaponor
    imitation weapon thatcouldcauseseriousbodily hann in connection with an actofterrorism ,in

    violationofVirginiaCodej18.2-46.5,
                                     *andinvite,solicit,recruit,encotlrage,orotherwisecause
    anothertoparticipateinanactoftenorism,inviolationofVirginiaCodej18.2-46.5,and
    knowinglyprovidem aterialsupportto individualsororganizationsforwhom such terrorism isa

    primaryobjective.
           Plaintiffsdeclineto m eettheirbtlrden tmderIqbaland Twombly orto respond

    substantially tothem otionsto dismisswith which they arepresented,in which defendantspoint

    outthatplaintiffsofferonly conclusory statementson theonehand and descriptionsof

    defendants'lawfulconducton theother.Plaintiffsrespond,in effect,RN owedon't,''without

    repairingthefactual,logical,and legalgapsthatmartheiram ended complaint. Plaintiffsclaim

    thatdefendantsrely upon factsoutside ofthecomplaintto advancetheargum entsin theirmotion

    (P1s.M em.Opp'n.ToDefs.M ots.ToDismissat28),andthatdefendantsfailtodraw a1l
    reasonablefactualinferencesintheplaintiffs'favor(1d at29).Theoppositeisthecase.The
    inferencearisesfrom plaintiffs'own facm alaverm entsthatdefendantscould nothaveconspired

    to terrorize and attack plaintiffswhere defendantsdid notexpectto findthem and in fact



                                                 16
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           intendednotto5ndthem (speakingoftheeventsofAugust11th).From thesnmeallegationsof

           factarisestheirlferencethatdefendantswouldnothavesoughtandreceivedaninjunctionfrom
           thiscourttoconductwhatplaintiffsportrayaswholesaleterrorism andviolence(speakingofthe
            eventsofAugust12th).Drawinga11reasonablefacmalinferencesin plaintiffs'favor, their
.           theoriesofliability collapsein on them selves.

                                                                  V.

                            PLAINTIFFS HAVE NOT PLEADED AND CANNOT PLEAD A
                                 VIABLE CLAIM UNDER VIRGINIA CODE j8.01-42.1
                   Intheiramended complaintplaintiffsrecitetheelementsofa claim tmderVirgii aCode

            j8.01-42.1,statethattheelementsaremetwithregardtotheplaintiffs,anddeclarethatSpencer
            and otherdefendantspossessedtherequisitemensrea forthe claim to bevalid.This

            presentation could ftmction asan illuskation to first-yearlaw studentsofapleading designed to

            failundertheIqbal/Twombly standard.Plaintiffs'barerecitation may placetheirassertions

            som ewherewithin theboundariesofconceivability,butnotnearly within therealm of
'
            plausibility in wlzich valid claim sunderIqbaland Twombly mustbefound.Plaintiffs'own

            foregoing factualaverm entsdo notsupportthe notion thatSpencer,particularly orbroadly,

            soughtto harassorintimidate anyone,plaintiffsincluded.Neither'
                                                                         do thoseavermentsgiverise

            to theimpression thatSpencerharborstheracial,religious,orethnic anim osity on which llis

            actionsmustnecessarily bebased forsuch aclaim to lie.

                   Thenearestplaintiffsapproach thenotionthatSpencerhadany connection to

            intim idating orharrassing behaviorisparagraph 166oftheircomplaint,in wllich they notethat

    '       heretweeted acounter-dem onstrator'sdescription ofhisexperienceon thenightofAugust11th.

            Spencerappearedto verifythecotmter-dem onstrator'sclaim thatthedem onstratorssurrotmded

            him and othersatthe Jefferson statue and,atleastinitially,w ould notletthem out. On itsface,


                                                             17
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   however,Spencer'ssocialm edia comm entwasbutan observation ofam om entofconfrontation

   betweeridem onstratorsand counter-dem onstratorsthatwasspecifkally designed and intended,

   notby thedem onskatorjorany ofthe defendants,butby thegroup ofcotmter-dem onstratorsto

   whichplaintiffsbelong.Thisistheimpression given by theplaintiffs'own allegations,in which

   they relatethatthey and others intentionally discovçred the secretly-conceived plan ofthe

   demonstratorstoproceed through thecnm pusoftheUniversity ofVirginia.Plaintiffsand others

   then m adetheirway to thelocation they surm ised to bethe dem onstrators'destination and

   lockedannsaround astatuein apublic square they knew would soonbefilled with people

   againstwhom they held aspecifcanimusoftheirown. Spencer'sacknowledgem entthattllisin

   facttookplacedoesnotgiverisetoaplausibleclaim thathesubjectedanyoftheplaintiffsto
   intidimidation,harassm ent,orviolence. Plaintiffsfailto highlightwhereorwhen hem ighthave

   doneso anywherein theiram ended complaint.

          Plaintiffs'claim would stillfaileven ifthey had succeeded in identifyingsuch an

   instance,sincethey failto supportthecontention thatSpencerism otivated even generally by

   racial,religious,orethnicanimosity.Again,the fadttlalavermentsin plaintiffs'complaint

   suggesttheopposite.Spencer'sendorsementofthebeliefthatttlnlationsmustsecuretheir
   existence anduniquenessand promotetheirown developm entand flottrislzingy''andthat

   çtlrlaciallyorethnicallydefinedsGtesarelegitimateandnecessary''onitsfaceappliestoall
   groups,notexclusively towhiteorEtlropean ones. Plaintiffsappearto believevery strongly that

   SpencerharborsthekindofartimosityproscribedbyVirginiaCodej8.01-42.1,buthavefailed
   tocite factsthatwould encotlrageothersinthatbelief,much lesssatisfytheplausibility standard

   ofIqbalandTwombly.Plaintiffs'j8.01-42.1claim mustfail.




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                                                C O N CLU SION

              Spencerparticipated in a dem onskation variously plnnned,coordinated,and attended by

       otherdefendants. The dem onstration represented an exercise ofrights ofspeech and assembly

       protected tmder the First Amendm entofthe Constittztion and was substantially shielded by a

       judgeofthiscotlrtassuch. The demonstration wasdirected neitherattheplaintiffsnoratany
       group or individual,but instead was focused on the participants them selves and on particular

       monllmentsdedicatedto importantfigttresofthenation'sjast. Plaintiffswentfaroutoftheir
       way and ordinary course ofaffairs to discover defendants'plans and make personal,real-life

       contactwith them and thedem onstration inwhich they weretnking part.Now plaintiffsinterpret

       a11of the resulting conflict,tension,and offense as the resultof a comprehensive scheme of

       violence and terrorism by defendants,very much in spite ofplaintiffs'own factualcontentions.

      'This self-serving projection of malign intent onto Spencer and the other defendants is
       disappointing and doesnotarise from thefactspresented. Itshould notbepermitted to form the

       basis of costly,prolonged civil litigation,particulady when that costand entanglem entis the

       plaintiffs'ultim atepurpose.Thiscourtshould grantthedefendants'motion to dism iss.


                                                               Respectfully subm itted,



.                                                              Richard Spencer,Pro Se
                                                                     '   .   '    ''
                                                                 .            .            .



                                                               .y'p .                  .       ..   .




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                                         CERTIFICATE OF SERW CE



             1Richard Spencerhereby certify thaton M arch 3'd, 2018, Imailed copiesofthisreply

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              Ifurtherhereby certify thaton M arch 3rd, 2018, Ialso served thefollowing participants
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                                             Richard Spencer




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